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                                                                            ofof
  Notice of Appeal Criminal                                                                Rev. 3/88



           United States District Court for the District of Columbia

  UNITED STATES OF AMERICA                           )
                                                     )
                        vs.                          )        Criminal No. 22-cr-089-ZMF
                                                     )
   NANCY BARRON                                      )


                                       NOTICE OF APPEAL

                                                    Nancy Kay Barron
 Name and address of appellant:
                                                    2763 Main Street,
                                                    Patriot, Indiana 47038



                                                    John M. Pierce
 Name and address of appellant’s attorney:
                                                    21550 Oxnard Street
                                                    3rd Floor, PMB #172
                                                    Woodland Hills, CA 91367
                                                    (213) 400 - 0725

 Offense: 18 USC 1752(a)(1); 18 USC 1752(a)(2); 40 USC 5104(e)(2)(D); 40 USC 5104(e)(2)(G)

 Concise statement of judgment or order, giving date, and any sentence:
     On August 23, 2023 Barron was found guilty by jury trial of all counts of the information.
     On May 2, 2024, Judge Faruqui sentenced Barron to 36 months of probation to run
     concurrently.

 Name and institution where now confined, if not on bail: N/A


         I, the above named appellant, hereby appeal to the United States Court of Appeals for the
 District of Columbia Circuit from the above-stated judgment.
          5/7/2024                                              Nancy Barron
  DATE                                               APPELLANT
                                                            John M. Pierce
                                                     ATTORNEY FOR APPELLANT

 GOVT. APPEAL, NO FEE
 CJA, NO FEE
 PAID USDC FEE
 PAID USCA FEE
 Does counsel wish to appear on appeal?                          YES           NO
 Has counsel ordered transcripts?                                YES           NO
 Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES           NO
